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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                   §
DAVID SAMBRANO, individually, and                  §
on behalf of all others similarly situated,        §
                                                   §                Civil Action No.
         Plaintiffs,                               §
                                                   §               4:21-CV-01074-P
v.                                                 §
                                                   §
UNITED AIRLINES, INC.,                             §
                                                   §
         Defendant.                                §

           DEFENDANT’S MOTION TO CLARIFY OR MODIFY THE
      TEMPORARY RESTRAINING ORDER AND MEMORANDUM IN SUPPORT

         Defendant United Airlines, Inc. (“United”) hereby requests that the Court clarify and/or

modify its October 12, 2021 Temporary Restraining Order (“TRO”), ECF No. 66, in two

respects. First, the Court should clarify that those accommodated non-customer facing

employees who, as of October 18, 2021, are entitled to remain at work under a newly-created

testing program may be placed on unpaid leave if they refuse to consent to testing. Second, the

Court should clarify that its Order was intended to preserve the status quo and not to require

United to reopen the Request for Accommodation Process (“RAP”) for employees who had

failed, prior to this litigation, to ever request an accommodation and are now, as a result, in the

midst of disciplinary termination proceedings.

         United has conferred with counsel for plaintiffs as to both of these issues. On the first

question regarding employees who reject testing, plaintiffs stated that they “believe the testing

accommodation is reasonable,” but declined to take a position on how the TRO should be

applied when employees refuse to test. On the second issue, plaintiffs informed United that they

oppose this Motion.


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                                           ARGUMENT

         The October 12 Order states that it is intended “to avoid risking irreparable injury and to

maintain the status quo in this case pending the Court’s hearing and resolution of plaintiffs’

Motion for Preliminary Injunction.” ECF No. 66 at 1 (emphasis added). The Order includes two

operative provisions:

         “It is, therefore, ORDERED that, for the duration of this Temporary Restraining
         Order, United Airlines, Inc. is TEMPORARILY RESTRAINED and ENJOINED
         from placing any employee on unpaid leave if that employee was granted either a
         religious or medical exemption from United Airlines, Inc.’s COVID-19 vaccine
         mandate.”

         “It is further ORDERED that United Airlines, Inc. is TEMPORARILY
         RESTRAINED and ENJOINED from denying any requests for religious or
         medical accommodations from United Airlines, Inc.’s COVID-19 vaccine
         mandate due to timeliness (i.e., because the requests were submitted after the
         August 31, 2021 deadline).”

Id. at 2. The Court indicated that it was entering this Order to extend, in effect, the stipulated

agreement between the parties that was read into the record on September 24, 2021. Id. at 1-2.

         A.     Unpaid Leave for Employees Who Refuse Testing Accommodation

         Since the Order was entered, two issues have arisen. First, on October 12, 2021, United

announced that it would, as of October 18, implement a new testing and masking program for

certain accommodated employees who work in non-customer facing positions (such as “below

the wing” ramp jobs). App. 1 ¶ 2 (Second Supplemental Declaration of Kirk Limacher).

Employees with an approved RAP will be required to provide a negative COVID test result

twice a week and, with limited exceptions, wear a N95 mask at all times. See ECF No. 41 at 18;

see also App. 1 ¶ 2. Those who comply are not required to remain out of the workplace on

unpaid leave. Id. However, since this new accommodation was announced, some

accommodated employees have indicated that they will refuse to submit test results. Id. 2 ¶ 3. In

addition, some employees have already begun violating the mask policy. Id.


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         Under ordinary circumstances, United would place accommodated employees who refuse

to comply with the airline’s new testing and masking rules on unpaid leave. Id. 1 ¶ 2. And

because this issue arose after the Court issued the TRO, there is no reason to think that the Court

intended to bar United from taking such action against employees who refuse to comply with

indisputably reasonable alternative accommodations. However, because the language of the

TRO is quite broad, it is unclear if United currently has any recourse with respect to those

individuals. Hence, United asks the Court to clarify or modify the language of the TRO to

address this development. The proposed revision would states as follows (proposed addition in

bold italics):

         “It is, therefore, ORDERED that, for the duration of this Temporary Restraining
         Order, United Airlines, Inc. is TEMPORARILY RESTRAINED and ENJOINED
         from placing any employee on unpaid leave if that employee was granted either a
         religious or medical exemption from United Airlines, Inc.’s COVID-19 vaccine
         mandate unless such employee was offered and refused the option of remaining
         at work subject to masking and COVID-19 testing requirements.”

This would maintain the status quo for (1) all employees not offered an alternative

accommodation and (2) all employees complying with United’s new testing/masking protocols.

         B.      Newly Filed Accommodation Requests

         As discussed at the recent hearing, virtually all United employees either chose to be

vaccinated or sought and were granted an accommodation. App. 2 ¶ 4. However, approximately

200 employees refused to pursue either option. Id. 2 ¶ 5. They were not subject to the parties’

stipulated agreement of September 24, which only covered persons who had submitted an

accommodation request “on or before September 23, 2021.” Id. As a result, since late

September, United has – in accordance with its collectively bargained disciplinary rules – been

in the process of terminating those individuals. Id. 2 ¶ 6. As of earlier this week, those

disciplinary processes were nearing a conclusion. Id.



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         However, once the TRO was entered, a number of those individuals suddenly announced

that they would be filing for RAPs. Id. 2 ¶ 7. They are pointing to the second operative

paragraph of the Court’s Order, which prohibits United from “denying any requests for religious

or medical accommodations . . . due to timeliness.” Id.; ECF No. 66 at 2. They claim that this

language means that United is obligated to re-open the accommodation process and consider new

requests from employees who never filed before. Id.

         The Court should clarify that its TRO was not intended to alter the status quo by

reopening the accommodation process. 1 Rather, as the Court expressly stated, the intent was to

“maintain” the status quo, which means that the Order should cover individuals like named

plaintiff David Castillo, who had submitted an accommodation – albeit late – prior to September

23, 2021. Requests that are coming in now – only after the TRO was entered – are all from

individuals who are taking advantage of what they see as an opportunity to delay their pending

terminations. Indeed, by definition, those individuals were not even members of the putative

class as of the date this case was filed.

         To address this, the Court should clarify the scope of the second operative paragraph of

the TRO by adding the following (proposed addition in bold italics):

          “It is further ORDERED that United Airlines, Inc. is TEMPORARILY
         RESTRAINED and ENJOINED from denying any requests made on or before
         September 23, 2021, for religious or medical accommodations from United
         Airlines, Inc.’s COVID-19 vaccine mandate due to timeliness (i.e., because the
         requests were submitted after the August 31, 2021 deadline).”

Clarifying the Order along these lines will make the TRO consistent with the terms of the

stipulated agreement between the parties.



1
         Ordering United to reopen the RAP process would, in effect, convert the TRO from a prohibitory
injunction to a disfavored “mandatory” injunction, i.e., an injunction that requires a party to take action beyond just
maintaining the status quo. See, e.g., Radius Bank v. Stafford Transp. of La., Inc., 2020 WL 1288904, at *2 (N.D.
Tex. Mar. 18, 2020); Martinez v. Mathews, 544 F.2d 1233, 1234 (5th Cir. 1976).

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Dated: October 17, 2021            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        On October 17, 2021, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                     /s/ Jordan M. Matthews
                                              Jordan M. Matthews




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                            CERTIFICATE OF CONFERENCE

       On October 15, 2021, Donald J. Munro, counsel for United, conferred with Robert C.
Wiegand, counsel for plaintiffs, regarding the relief sought in the foregoing motion. The parties
could not reach agreement because plaintiffs are opposed to the relief sought. Accordingly, the
foregoing is presented to the Court as opposed.


                                                   /s/ Jordan M. Matthews
                                            Jordan M. Matthews




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